Case 5:17-cv-00097-EKD-JCH Document 34-3 Filed 02/28/18 Page 1 of 6 Pageid#: 250




                              EXHIBIT 3
Case 5:17-cv-00097-EKD-JCH Document 34-3 Filed 02/28/18 Page 2 of 6 Pageid#: 251




                         DECLARATION OF            ~~N       DOG 3


                              , declare and state the following:



       1. I am 15 years old. I was born in Honduras.

      2.    I left Honduras because I was being persecuted by the "l 8 gang" who threatened to kill

           me.

      3. My girlfriend and 1 fled to Guatemala and then travelled to Mexico.     My girlfriend

           wanted to go back to Honduras, but I told her that I couldn't, because the gang was going

           to kill me.

      4. With a friend, I took buses and jumped on trains through Mexico to get to the United

           States. It took us something like 25 days to get to the US border from Mexico.

      5. I was picked up by immigration right after I crossed the border. I was placed at a house

           in Texas and then moved to a house in San Antonio, where I stayed for about a month. I

           was then moved to a center called BCFS where I stayed for about two weeks. After that,

           I was moved to Shenandoah.

      6. To get to Shenandoah, they put me on three planes. I kept asking where I was going but

           they never told me. It took a long time and put me in a bad mood.

      7. They said the reason for the moves from place to place was because I was a member of
                                                                   - --· - - - · - - - - - - - - - - - - - -
           MS-13. I told them I was not part of anything.

      8. When we landed at the airport, a grey van was waiting to transport me to Shenandoah.

           They put cuffs on my hands that were connected to a belt around my waist and put cuffs

           on my feet. When I asked them why they put us in handcuffs, they said that everyone




                                                                                                      1


                                    - --   -- .--···- -------·- --
Case 5:17-cv-00097-EKD-JCH Document 34-3 Filed 02/28/18 Page 3 of 6 Pageid#: 252



          who is transported here gets handcuffs. I threw a fit. I asked what was going on and

          kicked a chair. They put handcuffs on my hands and legs.

       9. At Shenandoah, I was put in restriction for any little thing. I was put in restriction many

          times; more than 10. They restrict me when I get angry and send me back to the pod.

          get angry because of the things they do.

       10. On one occasion, going to art class, I held the door open so everyone could enter. A staff

          member yelled at me for doing this, and I asked him why he was yelling at me and

          bringing his anger here. In response, the staff member lunged towards me, and I

          crouched down to avoid him. He fell and then restrained me, putting my hands behind my

          back and slamming my face into the wall. I maneuvered my way out of the hold and

          asked, "what is happening"? Then two staff members slammed my body to the ground

          and, when they picked me back up, shoved me against the wall again.

      11. After this, they put me in restriction in my room. They took away my mattress and my

          blanket and left me only in my boxers. I was left in my room all day without clothes and

          it was very cold. I did not get the mattress and blanket back until 9:00 that night. I did

          not get my clothes back until the next morning.

      12. On another occasion, I moved the TV in the pod so that the light wouldn't hit it and we

          could see better. A staff member came over and took a point away from me for that and

          put me in restriction. Whenever I was put in restriction, they took away my mattress and

          olanke t. Tfiey tool< my clotl1es away a6ouf8 times.

      13. About four times when they put me in restriction, staff put cuffs on my hands and my feet

         inside my room. The cuffs were very tight and left marks on my ,vrists. One night in




                                                                                                       2
Case 5:17-cv-00097-EKD-JCH Document 34-3 Filed 02/28/18 Page 4 of 6 Pageid#: 253



           particular I couldn't sleep well because of the pain in my wrists. When I was cuffed,

           staff also hit me. They came into my room and started hitting me.

       14. One time I got angry when staff sent me to my room. I hit the door with my fist and my

           hand started bleeding. Staff then they put cuffs on me and I was strapped to a chair with

           a belt.   r was just in my boxers.   I was there for definitely more than half an hour. I was

           crying. Staff said that they did it to calm me down. No one did anything for my bleeding

           hand.

       15. Another time I put paper over the window in the door to my room for privacy. A lot of

          staff came into the room with plastic shields and swarmed over me. A large staff

          member put all his weight on me. I had scratches and bruises all over my arms.

       16. Staff members take away points without telling me. When I ask how many points I

          have, they tell me 4 to 5 points less than I have. That makes me mad. I ask the

          supervisor why they do this and say that they are messing up. They don't give me an

          answer. I think they do things to make me angry so that I will hit them and then charges

          will be pressed and I will get a longer sentence.

       17. Staff take away points for little things. They take away points when 1 don't want my

          food and give it to a friend. Some staff take away points when you don't raise your hand.

       18. I feel like people here are racist. The American kids are treated differently. For example,

          an American kid asked for chapstick and got it immediately. I asked for Vaseline for my

          hps wfi1cn\ Vere chappecranohurting.- Igot tt eventually but not immediately.

      19. The pods for the American kids are very different than the pods for the Hispanic youth.

          Bravo and Echo, the pods for the American youth, have soft chairs, X-boxes all week




                                                                                                       3
Case 5:17-cv-00097-EKD-JCH Document 34-3 Filed 02/28/18 Page 5 of 6 Pageid#: 254



          and I-pods. The immigrant youth have steel chairs, no I-pods and have X-boxes one to

          three times a week.

       20. We get special food, like Burger King and pizza, on Tuesdays. My Honduran friends

          who arrived this past Saturday did not get the special food on the following Tuesday, but

          the American kids who also arrived on that Saturday got the special food .

      .21. Staff is disrespectful to us. When I asked a friend to ask a staff member why the staff

          member was taking away so many points, the staff member said to my friend, "tell that

          Hispanic guy to tell me in English".

      22. If something hurts, I can see a doctor. But I don't get medicine until much later than I

          ask for it. I get very strong headaches, that are so bad that they make me cry. Many

          times when I ask for medicine I have to wait a long time. When I had a stomach ache, I

          did not get medicine until a week after I asked for it. Then it was pointless.

      23. We got six vaccinations at a clinic. I do not know what the shots were for. They had us

          in hand and leg cuffs the entire time we were in public. People stared at us.

      24. I am taking medications for anger and to help me sleep. I would like calcium and iron

         supplements but they refused to give them to me.

      25. I have been on good behavior for three months. I should have been stepped down after

         30 days of good behavior. I am upset that I haven't been stepped down. l will talk to my

         case manager about that.




                                                                                                     4
Case 5:17-cv-00097-EKD-JCH Document 34-3 Filed 02/28/18 Page 6 of 6 Pageid#: 255



      26. I want us to be treated as human beings.

      This statement has been prepared in English but has been read to me in Spanish by a

      bilingual interpreter. I declare, under penalty of perjury, that all the information I have

      provided here is correct and complete to the best of my knowledge. I am aware of the legal

      consequences of making a false declaration.



   Executed this 5 day of January, 2018, in Staunton, Virginia




   001-lN D05      3




                                                                                                    5
